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                              UNITED STATE DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN

DOMINIC WILLIAMS,

          Plaintiff,

v.                                                                     CASE NUMBER:
                                                                       HONORABLE:

CITY OF GRAND RAPIDS, RYAN JOHNSTON,
and MAKENTORCH SEIDE,
in their individual and official capacities,

        Defendants.
_____________________________________________________________________________/
CHRISTOPHER TRAINOR & ASSOCIATES
CHRISTOPHER J. TRAINOR (P42449)
SHAWN C. CABOT (P64021)
KRYSTINA R. DOSS (P77365)
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_____________________________________________________________________________/
 THERE IS NO OTHER PENDING OR RESOLVED CIVIL ACTION ARISING OUT OF THE
           TRANSACTION OR OCCURRENCE ALLEGED IN THE COMPLAINT

                               COMPLAINT AND JURY DEMAND

          NOW COMES Plaintiff, by and through his attorneys, CHRISTOPHER TRAINOR &

ASSOCIATES, and for his Complaint against the above-named Defendants, states as follows:

     1.       Plaintiff is a resident of the City of Grand Rapids, County of Kent, State of Michigan.

     2.       Defendant City of Grand Rapids is a municipal corporation and governmental

              subdivision organized and existing under the laws of the State of Michigan.

     3.       Defendant Ryan Johnston is and/or was a police officer working for and/or assigned to

              the City of Grand Rapids Police Department, and was acting under color of law, in his



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       individual and official capacities, and was acting within the course and scope of his

       employment at all times mentioned herein.

 4.    Defendant Makentorch Seide is and/or was a police officer working for and/or assigned

       to the City of Grand Rapids Police Department, and was acting under color of law, in

       his individual and official capacities, and was acting within the course and scope of his

       employment at all times mentioned herein.

 5.    That all events giving rise to this lawsuit occurred in the City of Grand Rapids, County

       of Kent, State of Michigan.

 6.    This lawsuit arises out of Defendants’ violation of Plaintiff’s federal constitutional

       rights as secured by the Fourth Amendment as it applies to the States through the

       Fourteenth Amendment to the United States Constitution and consequently, Plaintiff

       has a viable claim for damages under 42 U.S.C. § 1983. Plaintiff also has viable state

       law claims.

 7.    Jurisdiction is vested in this Court pursuant to 28 U.S.C. § 1331 [federal question] and

       28 U.S.C. § 1343 [civil rights].

 8.    That the amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00),

       not including interest, costs, and attorney fees.

                                          FACTS

 9.    Plaintiff realleges and incorporates by reference each and every paragraph of this

       Complaint as though fully set forth herein.

 10.   On March 2, 2020, Plaintiff left a gas station and was driving home when he saw

       flashing lights behind him; thereby causing him to pull over.




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 11.   While Plaintiff was in the driver’s seat of the vehicle, Defendant Johnston approached

       the vehicle and asked Plaintiff to roll down his window, and Plaintiff opened his

       window.

 12.   Plaintiff recorded some of the encounter that evening on his cell phone.

 13.   At one point during their interaction, Defendant Johnston ordered Plaintiff to step

       outside the vehicle to which Plaintiff complied with said request, while still recording

       the encounter with his cell phone.

 14.   Defendant Johnston then gave Plaintiff confusing and/or conflicting commands with

       respect to putting his hand behind his back or on top of his head; Plaintiff even

       expressed his confusion as to the commands being given by Defendant Johnston.

 15.   Finally understanding the commands being given by Defendant Johnston, as Plaintiff

       attempted to comply with the commands being given by Defendant Johnston,

       Defendant Johnston aggressively grabbed Plaintiff’s right arm and forcefully pushed

       Plaintiff into the vehicle

 16.   Defendant Johnston and/or Seide then proceeded to kick Plaintiff’s legs out from

       underneath him and they both slammed Plaintiff to the ground and handcuffed him very

       tightly.

 17.   After Plaintiff was placed in the rear of a police car, Defendant Johnston went back to

       Plaintiff’s vehicle, picked up Plaintiff’s cell phone from inside the vehicle, accessed

       contents of Plaintiff’s phone, and unlawfully removed the cell phone from the vehicle

       and took possession of same.

 18.   When Plaintiff eventually got his cell phone back, the video that was taken of the

       subject encounter had been erased.



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 19.   Plaintiff was taken to the Kent County Jail.

 20.   Defendants falsely arrested and charged Plaintiff with assault, batter, resist or obstruct

       a police officer, but that charge was ultimately dismissed.

 21.   That on or about October 29, 2020, the above charge against Plaintiff was dismissed.

 22.   As a result of Defendants’ actions and/or inactions, Plaintiff suffered significant

       injuries and damages.

                                       COUNT I
                     VIOLATION OF THE FOURTH AMENDMENT
                         42 U.S.C. §1983 EXCESSIVE FORCE

 23.   Plaintiff realleges and incorporates by reference each and every paragraph of this

       Complaint as though fully set forth herein.

 24.   At all relevant times herein, Defendants Johnston and Seide acted under color of law,

       within the scope and course of their employment, and in their official and individual

       capacities.

 25.   Defendants violated Plaintiff’s clearly established and federally protected rights as set

       forth under the United States Constitution and the Amendments thereto, including, but

       not limited to, the Fourth Amendment of the United States Constitution to be free from

       unreasonable search and seizures, including, but not limited to be free from excessive

       use of force and/or failing to intervene and stop excessive force from being used.

 26.   The actions of Defendants Johnston and Seide were at all times objectively

       unreasonable and in violation of Plaintiff’s clearly established rights under the Fourth

       Amendment to the United States Constitution and which proximately resulted in

       significant injuries to Plaintiff.




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   27.      Defendants are not entitled to qualified immunity because they violated Plaintiff’s

            clearly established Fourth Amendment right to be free from excessive use of force and

            unreasonable search and seizures.

   28.      As a proximate result of the violations and/or deprivations of Plaintiff’s constitutional

            rights committed by Defendants, Plaintiff has a viable claim for compensatory and

            punitive damages pursuant to 42. U.S.C § 1983 together with costs, interests, and

            attorney fees as set forth in 42 U.S.C. §1988.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in Plaintiff’s favor and against Defendants in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00), not including interest, attorney fees, and costs.

                                      COUNT II
                        VIOLATION OF THE FOURTH AMENDMENT
          42 U.S.C. § 1983 UNLAWFUL SEARCH AND SEIZURE OF CELL PHONE

   29.      Plaintiff realleges and incorporates by reference each and every paragraph of this

            Complaint as though fully set forth herein.

   30.      That the Fourth Amendment to the United States Constitution establishes that Plaintiff

            has the right to be secure in his person, house, and things against unreasonable and

            warrantless searches and seizures without due process of law.

   31.      At all material times mentioned herein, Defendant Johnston acted under color of law

            and unreasonably when he violated Plaintiff’s Fourth Amendment rights by searching

            Plaintiff’s cell phone and/or seizing same without probable cause, exigent

            circumstances, or any other legal justification, and then deleting the video taken by

            Plaintiff of the incident complained of.




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   32.      Defendant Johnston acted unreasonably and failed in his duties when he unlawfully

            searched and seized Plaintiff’s cell phone.

   33.      Defendant Johnston acted under color of law and acted unreasonably; therefore, he is

            not entitled to qualified immunity because he violated Plaintiff’s clearly established

            Fourth Amendment rights.

   34.      Defendant Johnston’s unlawful and unconstitutional acts were the direct and proximate

            cause of the deprivation of Plaintiff's constitutional rights.

   35.      As a proximate result of the violations and/or deprivations of Plaintiff’s constitutional

            rights committed by Defendant Johnston, Plaintiff has a viable claim for compensatory

            and punitive damages pursuant to 42. U.S.C § 1983 together with costs, interests, and

            attorney fees as set forth in 42 U.S.C. §1988.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in Plaintiff’s favor and against Defendants in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00), not including interest, attorney fees, and costs.

                                       COUNT III
                       VIOLATION OF THE FOURTH AMENDMENT
                            42 U.S.C. §1983 FALSE ARREST

   36.      Plaintiff realleges and incorporates by reference each and every paragraph of this

            Complaint as though fully set forth herein.

   37.      That the Fourth Amendment to the United States Constitution establishes that Plaintiff

            has the right to be free from the deprivation of life, liberty, and bodily security without

            due process of law and to be free from unreasonable searches and seizures.

   38.      At all material times, Defendant Johnston was acting under color of law and

            unreasonably when he violated Plaintiff’s Fourth Amendment rights by falsely



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            arresting and/or detaining Plaintiff for assault, batter, resist or obstruct a police officer,

            without probable cause or exigent circumstances.

   39.      Defendant Johnston acted unreasonably and failed in his duties when he falsely

            arrested/detained/seized Plaintiff without considering the totality of the circumstances.

   40.      Defendant Johnston acted under color of law and is not entitled to qualified immunity

            because he violated Plaintiff’s clearly established Fourth Amendment rights to be free

            from an unlawful arrest.

   41.      Defendant Johnston’s unlawful and unconstitutional acts were the direct and proximate

            cause of Plaintiff’s deprivation of his constitutional rights.

   42.      As a proximate result of the violations and/or deprivations of Plaintiff’s constitutional

            rights committed by Defendant Johnston, Plaintiff has a viable claim for compensatory

            and punitive damages pursuant to 42. U.S.C § 1983 together with costs, interests, and

            attorney fees as set forth in 42 U.S.C. §1988.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in Plaintiff’s favor and against Defendants in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00), not including interest, attorney fees, and costs.

                                         COUNT IV
                                    ASSAULT AND BATTERY

   43.      Plaintiff realleges and incorporates by reference each and every paragraph of this

            Complaint as though fully set forth herein.

   44.      Defendants’ actions were not undertaken in good faith and were not discretionary; but

            were otherwise undertaken with malice.

   45.      At all material times herein, Defendants threatened and/or caused Plaintiff to be

            threatened with involuntary, unnecessary, and/or excessive physical contact.

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   46.      At all material times herein, the physical contact and/or threat of physical contact

            referred to herein was inflicted upon Plaintiff by Defendants.

   47.      That the physical contact was unnecessary and excessive; and furthermore, the physical

            contact was without probable cause and/or any legal justification whatsoever.

   48.      As a direct and proximate result of the assaults and batteries inflicted upon Plaintiff as

            described herein, Plaintiff sustained injuries and damages.

   49.      Defendants’ actions were so egregious and so outrageous, that Plaintiff’s damages were

            heightened and made more severe; thus Plaintiff is entitled to exemplary damages.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in Plaintiff’s favor and against Defendants in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00), not including interest, attorney fees, and costs.

                                     COUNT V
                         FALSE ARREST/FALSE IMPRISONMENT

   50.      Plaintiff realleges and incorporates by reference each and every paragraph of this

            Complaint as though fully set forth herein.

   51.      That Defendant Johnston caused the arrest and/or imprisonment of Plaintiff without

            any legal justification and/or probable cause.

   52.      That Defendant Johnston caused Plaintiff to be held against his will and/or imprisoned

            without any legal justification and/or probable cause.

   53.      Defendant Johnston restricted Plaintiff’s liberties against his will.

   54.      Defendant Johnston’s actions were without legal justification and/or probable cause.

   55.      As a result of Defendant Johnston’s actions, Plaintiff suffered injuries and/or damages.




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   56.      Defendant Johnston’s actions were so egregious and so outrageous that Plaintiff’s

            damages were heightened and made more severe such that Plaintiff is entitled to

            exemplary damages.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in Plaintiff’s favor and against Defendants in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00), not including interest, attorney fees, and costs.

                                           COUNT VI
                                       GROSS NEGLIGENCE

   57.      Plaintiff realleges and incorporates by reference each and every paragraph of this

            Complaint as though fully set forth herein.

   58.      The governmental agency that employed Defendants was engaged in the exercise or

            discharge of a governmental function.

   59.      Defendants’ conduct amounted to gross negligence that was the proximate cause of

            Plaintiff’s injuries and damages.

   60.      Defendants’ actions and/or inactions were such that they completely ignored the

            potential risk of injury to Plaintiff.

   61.      At the time of the incident complained of, Defendants were working for the Grand

            Rapids Police Department and therefore had a duty to perform their employment

            activities so as not to endanger or cause harm to Plaintiff.

   62.      Notwithstanding these duties, Defendants breached their duty with deliberate

            indifference and gross negligence and without regard to Plaintiff’s rights and welfare,

            which caused serious injuries and damages to Plaintiff.

   63.      Defendants knew or should have known that by breaching these duties, harm would

            come to Plaintiff.

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   64.      Defendants engaged in conduct so reckless as to demonstrate a substantial lack of

            concern for whether an injury resulted; thereby causing Plaintiff’s injuries and

            damages.

   65.      That as a direct and proximate result of the Defendants’ indifferent/grossly negligent

            acts and/or omissions, Plaintiff sustained damages and injuries.

   66.      Defendants’ actions were so egregious and so outrageous that Plaintiff’s damages were

            heightened and made more severe; thus Plaintiff is entitled to exemplary damages.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in Plaintiff’s favor and against Defendants in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00), not including interest, attorney fees, and costs.

                                 COUNT VII
              CITY OF GRAND RAPIDS’ CONSTITUTIONAL VIOLATIONS

   67.      Plaintiff realleges and incorporates by reference each and every paragraph of this

            Complaint as though fully set forth herein.

   68.      Defendant City of Grand Rapids acted recklessly and/or with deliberate indifference

            when it practiced and/or permitted customs and/or policies and/or practices that

            resulted in constitutional violations to Plaintiff.

   69.      That these customs and/or policies and/or practices included, but were not limited to,

            the following:

      a.       Failing to adequately train and/or supervise its police officers so as to prevent

               violations of citizen’s constitutional rights;

      b.       Failing to adequately train and/or supervise police officers regarding reasonable

               seizures;




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    c.     Failing to adequately train and/or supervise police officers regarding the proper use

           of force;

    d.     Failing to adequately train and/or supervise police officers regarding lawful searches

           and/or seizures conducted incident to an arrest;

    e.     Failing to supervise, review, and/or discipline police officers whom Defendant City

           of Grand Rapids knew or should have known were violating or were prone to violate

           citizens’ constitutional rights, thereby permitting and/or encouraging its police

           officers to engage in such conduct; and

    f.     Failing to adequately train and/or supervise its police officers in the proper policies

           and procedures for: effectuating an arrest without the use of excessive force,

           conducting an arrest with probable cause and/or legal justification, and the limits of

           lawful searches and seizures of cell phones.

  70.    Defendant City of Grand Rapids’ conduct demonstrated a substantial lack of concern

         for whether an injury resulted.

  71.    Defendant City of Grand Rapids’ acts and/or indifference and/or omissions were the

         direct and proximate cause of Plaintiff’s injuries.

  72.    The facts as set forth in the preceding paragraphs constitute a violation of Plaintiff’s

         Fourth and/or Fourteenth Amendment rights pursuant to 42 U.S.C. § 1983, and Plaintiff

         has a viable claim for compensatory and punitive damages plus interest, costs, and

         attorney fees as set forth in 42 U.S.C. §1988.




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       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in his favor and against Defendants in an amount in excess of Seventy-Five Thousand Dollars

($75,000.00), exclusive of costs, interest, and attorney fees.

                                              Respectfully Submitted,

                                              CHRISTOPHER TRAINOR & ASSOCIATES

                                              /s/ Shawn C. Cabot
                                              CHRISTOPHER J. TRAINOR (P42449)
                                              SHAWN C. CABOT (P64021)
                                              KRYSTINA R. DOSS (P77365)
                                              Attorneys for Plaintiff
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                                              krystina.doss@cjtrainor.com
Dated: November 29, 2021
SCC/




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                        UNITED STATE DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN

DOMINIC WILLIAMS,

      Plaintiff,

v.                                                    CASE NUMBER:
                                                      HONORABLE:

CITY OF GRAND RAPIDS, RYAN JOHNSTON,
and MAKENTORCH SEIDE,
in their individual and official capacities,

        Defendants.
_____________________________________________________________________________/
CHRISTOPHER TRAINOR & ASSOCIATES
CHRISTOPHER J. TRAINOR (P42449)
SHAWN C. CABOT (P64021)
KRYSTINA R. DOSS (P77365)
Attorneys for Plaintiff
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_____________________________________________________________________________/




                         DEMAND FOR TRIAL BY JURY




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      NOW COMES Plaintiff, by and through his attorneys, CHRISTOPHER TRAINOR &

ASSOCIATES, and hereby makes a Demand for Trial by Jury in the above-captioned matter.



                                         Respectfully Submitted,

                                         CHRISTOPHER TRAINOR & ASSOCIATES

                                         /s/ Shawn C. Cabot
                                         CHRISTOPHER J. TRAINOR (P42449)
                                         SHAWN C. CABOT (P64021)
                                         KRYSTINA R. DOSS (P77365)
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Dated: November 29, 2021
SCC/




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